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  Fish Commission

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA

 THE UNITED STATES OF                     )
 AMERICA,                                 )
                                          )
              Plaintiff,                  )
                                          )
       and                                )   Case No. 1:22-cv-00054-SLG
                                          )
 KUSKOKWIM RIVER INTER-                   )
 TRIBAL FISH COMMISSION et al.,           )
                                          )
              Plaintiff-Intervenors,      )
                                          )
       v.                                 )
                                          )
 THE STATE OF ALASKA et al.,              )
                                          )
              Defendants.                 )
                                          )

   PLAINTIFF-INTERVENORS’ JOINDER IN PLAINTIFF’S MOTION FOR
                     SUMMARY JUDGMENT

      Plaintiff-Intervenors Kuskokwim River Inter-Tribal Fish Commission (“Fish

Commission”); the Association of Village Council Presidents (“AVCP”), Betty Magnuson,


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and Ivan M. Ivan; and Ahtna Tene Nené and Ahtna, Inc. (“Ahtna”) hereby join the Motion

for Summary Judgment filed by the United States (ECF No. 70). For the reasons stated in

the motion, and the additional reasons stated below, summary judgment should be granted

in favor of the Plaintiffs and the Court should issue a permanent injunction enjoining

Defendants from taking actions interfering with or contravening federal orders issued

pursuant to Title VIII of the Alaska National Interest Lands Conservation Act

(“ANILCA”).

         The Intervenor-Plaintiffs write separately to emphasize that they continue to face

irreparable harm that would occur absent a permanent injunction. As explained in the

United States’ motion, the irreparable harm calculus has not changed since this Court’s

ruling on the preliminary injunction, when this Court correctly found that allowing the

State to enforce its purported fishing openings in contravention of federal law would cause

irreparable harm in multiple ways.1

         AVCP,2 Betty Magnuson, and Ivan M. Ivan3 have a strong and long-standing

interest in the protection of subsistence fishing along the Kuskokwim River and

implementation of the ANILCA’s subsistence priority. Subsistence fishing is not only



1
    Motion at 14–17 (ECF No. 70).
2
   AVCP is a non-profit tribal consortium dedicated to protecting and supporting the
interests of its 56 member federally recognized Tribes and their tribal citizens located in
communities throughout the Yukon-Kuskokwim Delta. Korthuis Decl. ¶ 3, ECF No. 19-
3.
3
  Betty Magnuson and Ivan M. Ivan are federally qualified subsistence users that have
subsistence fished on the Kuskokwim River for their entire lives. Ivan Decl. ¶¶ 3–4, ECF
No. 19-5; Magnuson Decl. ¶¶ 3–4, ECF No. 19-4.

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essential for meeting the nutritional needs of the residents of the Yukon-Kuskokwim Delta

(“YK Delta”), but its importance also extends into all aspects of Yup’ik, Cup’ik, and

Athabascan cultural life and identity. 4 The inadequate harvest of salmon has created a

cultural crisis as the region’s Tribes and their tribal citizens are unable to practice their

traditional subsistence-based ways of life. 5

         Subsistence users have faced severe restrictions on their fishing activities in an

attempt to preserve salmon stocks and meet escapement goals. 6 Due to the high reliance

on wild food, primarily salmon, in the region, these restrictions have a direct and outsized

impact on rural subsistence users.7 The State’s actions undermine the federal subsistence

priority and directly threaten the ability of Alaska’s rural residents—including Betty

Magnuson, Ivan M. Ivan, and AVCP’s member Tribes and their tribal citizens—to access

essential subsistence fishing.8

         The Fish Commission faces similar harms. On behalf of the federally recognized

Tribes in the Kuskokwim watershed,9 the Fish Commission co-manages the Kuskokwim

River salmon fishery within the Yukon Delta National Wildlife Refuge cooperatively with

the U.S. Fish and Wildlife Service.10 The State’s actions undermine that management


4
    Ivan Decl. ¶¶ 7–8, 14; Korthuis Decl. ¶¶ 12–14.
5
    Korthuis Decl. ¶ 14.
6
    Korthuis Decl. ¶¶ 7–12.
7
    Ivan Decl. ¶¶ 4–6, 9, 11; Korthuis Decl. ¶¶ 11–12; Magnuson Decl. ¶ 7.
8
    Ivan Decl. ¶¶ 10–13; Korthuis Decl. ¶¶ 11–12; Magnuson Decl. ¶¶ 5–6.
9
    Fish Commission Motion to Intervene, at 6 (ECF No. 12).
10
     Complaint in Intervention, ¶ 6 (ECF No. 12-1).

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authority, thereby inflicting irreparable harm by threatening the sovereignty of the Fish

Commission’s member Tribes.11

         Moreover, the State’s actions also irreparably harm the federally qualified users

whose interests the Fish Commission represents. When salmon are taken by non-federally

qualified users in contravention of the ANILCA’s rural subsistence priority, those fish

cannot be given back to federally qualified users. This would occur if the State were

permitted to enforce its purported openings, either through non-federally qualified users

intentionally taking advantage of the announced openings, or through confusion created by

the conflicting announcements, which on at least one occasion led to several hundred boats

fishing during a federal closure.12 This Court found—and should find again here—that

such harm is irreparable because “neither the Court nor the parties can go back in time to

remedy the harm financially.”13 This truth is inherent in the subsistence way of life, in

which there is no replacement for the direct harvest and consumption of wild foods.

         For similar reasons, the balance of equities and the public interest continue to tip

strongly in favor of entering an injunction. Congress already made the determination that

rural subsistence users—users like the Intervenors and those they represent—should be



11
  See N. Arapaho Tribe v. LaCounte, 215 F. Supp. 3d 987, 1000 (D. Mont. 2016) (“Harm
to a tribe’s sovereignty ‘cannot be remedied by any . . . relief other than an injunction.’”
(quoting Tohono O’odham Nation v. Schwartz, 837 F. Supp. 1024, 1034 (D. Ariz. 1993))).
12
   Decl. of Mike Williams, Sr. ¶¶ 12–14, ECF No. 14-1; Fish Commission Joinder in
Motion for Preliminary Injunction at 8-9, ECF No. 14; see Order on Preliminary Injunction
at 13–14, ECF No. 35 (finding irreparable harm caused by the confusion sowed by the
State’s purported openings, and the associated likelihood of illegal fish harvest).
13
     Order on Preliminary Injunction at 14.

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accorded priority over all other users because of the importance of subsistence foods to

their culture and way of life.14 Indeed, as discussed above, subsistence remains the

lifeblood of rural communities along the Kuskokwim, and threats to that way of life are

existential. On the other side of the scale, the State has no valid interest—nor is there any

public interest—in violating the subsistence scheme that Congress established in ANILCA

to protect these rural users.

         And the analysis is no different in other areas of the state; the equities and public

interest favor an injunction as to any similar orders that the State may attempt to issue in

violation of ANILCA’s rural subsistence priority in other waters or regions. 15 Although

the main focus of this case is on the State’s illegal management actions on the Kuskokwim

River, the legal issues have statewide importance.16 As the United States’ motion makes

clear, federal law preempts the State from issuing orders that contradict federal

management efforts or create an obstacle to implementation of ANILCA’s rural

subsistence priority.17 The federal preemption doctrine applies equally to all federal public

lands throughout Alaska, including certain navigable waters. 18




14
     16 U.S.C. § 3111(1).
15
   See Complaint at 24, ECF No. 1 (requesting injunction as to any “similar actions
interfering with or in contravention of federal orders addressing ANILCA Title VIII and
applicable regulations”).
16
     Ahtna Tene Nené & Ahtna, Inc.’s Motion to Intervene at 4–5 (ECF No. 38).
17
     ECF No. 70 at 9–10.
18
  See Alaska v. Babbitt, 72 F.3d 698 (9th Cir. 1995); John v. United States, 247 F.3d 1032
(9th Cir. 2001); John v. United States, 720 F.3d 1214 (9th Cir. 2013).

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          The Intervenors and the United States are entitled to summary judgment and a

permanent injunction prohibiting the State from taking actions interfering with or

contravening federal orders, not just on the Kuskokwim River but anywhere the ANILCA

rural subsistence priority applies. 19 The State should not be permitted to simply swap one

battleground for the next. For example, the Copper River subsistence fishery, like the

Kuskokwim and Yukon Rivers, has experienced precipitous declines in its salmon runs,

but is clearly a target for the State to apply its “All Alaskans” policy and directly challenge

federal management.20 For villages and rural residents throughout Alaska, including Ahtna

Tene Nené’s member Tribes and Ahtna, Inc.’s shareholders, the threat of the State’s

unlawful interference with the rural subsistence priority guaranteed by ANILCA has never

been greater.21 A statewide injunction is in the public interest 22 and is necessary to prevent

confusion to both federally qualified subsistence users and non-federally qualified

subsistence users throughout the state.

          While this Court cannot, alone, reverse the devastating salmon declines that threaten

the rural subsistence way of life in much of Alaska, it can help protect what remains of

those salmon runs by enjoining the State from asserting jurisdiction it does not possess and

violating ANILCA’s federal protections. The Plaintiff-Intervenors respectfully request

that the Court grant summary judgment in favor of all Plaintiffs.


19
     See ECF No. 70 at 14–16.
20
     See ECF No. 38 at 3–5.
21
     See id. at 3–4.
22
     See ECF No. 35 at 18.

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             DATED this 28th day of July, 2023, at Anchorage, Alaska.

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            Certificate of Service

I certify that on July 28, 2023, a copy of the
foregoing document was served via ECF on all
counsel of record.

/s/ Nathaniel H. Amdur-Clark
Nathaniel H. Amdur-Clark




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